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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                        :
                                                :             CRIMINAL ACTION NO.
        v.                                      :             3:15CR25 (JCH)
                                                :
PABLO CALDERON,                                 :
     Defendant.                                 :             NOVEMBER 28, 2017



        RULING RE: MOTION FOR BAIL PENDING APPEAL (DOC. NO. 551)

       Pending before the court is a Motion of defendant, Pablo Calderon, for bail

pending his appeal. The court assumes familiarity with and incorporates its prior Ruling

re: co-defendant Brett Lillemoe’s Motion for Bail Pending Appeal (Doc. No. 522).

       Applying the standard which the court set forth there, the court concludes that it

is clear, and the court is convinced, that Mr. Calderon is not likely to flee or pose a

danger to the safety of any other person or the community if allowed to remain out on

bail pending his appeal. See 18 U.S.C. § 3143(b)(1)(A). Further, the court concludes

for substantially the same reasons as those articulated in its prior Ruling concerning Mr.

Lillemoe’s application that the factors under section 3143(b)(1)(B) of title 18 of the

United States Code are satisfied. See 18 U.S.C. § 3143(b)(1)(B) (“[T]he appeal is not

for the purpose of delay and raises a substantial question of law or fact likely to result in

a reversal, an order for a new trial”). The court notes that it does not believe that the

issues being raised by the defendants will succeed on appeal because this court

continues to be of the view that its rulings were correctly determined at trial. However, if

the court is mistaken, then it is likely a new trial will be ordered by the Court of Appeals.

The court’s view in this regard is premised upon Mr. Calderon’s issue on appeal

concerning the court’s instruction regarding “no ultimate harm.” The court concludes

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that this issue on appeal does raise a “substantial question,” at least as that phrase is

expressed in the statute and elaborated upon in the case law. See Ruling (Doc. No.

522) at 4 (finding the issue is “of more substance than would be necessary to a finding

that it was not frivolous”) (citing United States v. Randell, 761 F.2d 122, 124 (2d Cir.

1985)).

        Therefore, the court grants Calderon’s Motion for Bail Pending Appeal (Doc. No.

551).

SO ORDERED.

        Dated at New Haven, Connecticut this 28th day of November, 2017.




                                          /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Judge




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